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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


  ROKIT WORLD, INC.

  And

  ROKIT WORLD LIMITED                        Case No: 1:23-cv-21224-CMA

               Plaintiffs

          v.

  WILLIAMS GRAND PRIX
  ENGINEERING LIMITED
  Grove, Wantage, Oxfordshire,
  OX12 0DQ

  And

  CLAIRE WILLIAMS
  30 Finsbury Square,
  London,
  EC2A 1AG

  And

  MICHAEL O’DRISCOLL
  30 Finsbury Square,
  London,
  EC2A 1AG

  And

  DOUG LAFFERTY
  Aston Martin
  Banbury Road
  Gaydon,
  Warwick,
  CV35 0DB

               Defendants.


                                 AMENDED COMPLAINT



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         Plaintiff ROKIT WORLD, INC. (“RWI”) and ROKIT WORLD LIMITED (“RWL”)

  hereby bring suit against Defendants WILLIAMS GRAND PRIX ENGINEERING LIMITED

  (“Williams Engineering”), CLAIRE WILLIAMS (“Ms. Williams”), MICHAEL O’DRISCOLL

  (“Mr. O’Driscoll”) and DOUG LAFFERTY (“Mr. Lafferty”) for fraud.

                                      JURISDICTION AND VENUE

         1.      This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C.

  §1332 as the amount in controversy exceeds $75,000.

         2.      Venue is proper pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391(b)(2), (3) a

  substantial part of the events or omissions giving rise to the claims occurred in this judicial

  district and Defendants are subject to personal jurisdiction in this District.

                                            THE PARTIES

         3.      RWI is a corporation and is incorporated under the laws of Delaware. At all

  material times, RWI was the parent company of ROKiT Marketing, Inc (“RMI”) and ROK

  Marketing, LLC (“ROK”). RWI’s principal place of business is California, and it does

  substantial business all throughout the United States, including but not limited to in Florida. Am.

  Comp. ¶ 21.

         4.      RWL is an incorporated entity registered under the laws of Ireland, and it is the

  parent company of RWI. Its principal place of business is in Ireland and does substantial

  business worldwide, the United States and in this judicial district.

         5.      Williams Engineering is a private limited company incorporated in England and

  Wales. Its principal place of business is England. Williams Engineering does substantial and

  continued business in Florida and in this judicial district, as one of its two drivers, Logan

  Sargeant, is a citizen of Florida. Furthermore, William Engineering is competing in the Miami



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  Grand Prix in May of 2023, and competed in the 2022 Miami Grand Prix as well, a major

  Formula One (“F1”) competition.

         6.      Ms. Williams is an individual and a citizen and resident of the United Kingdom.

  She was until September 3, 2020 a director of Williams Engineering.

         7.      Mr. O’Driscoll is an individual and a citizen and resident of the United Kingdom.

  He was until August 21, 2020 a director of Williams Engineering.

         8.      Mr. Lafferty an individual and a citizen and resident of the United Kingdom. He

  was until August 21, 2020 a director of Williams Engineering.

                                            STANDING

         9.      Plaintiffs have standing to bring claims because they have been directly and

  proximately harmed by the fraudulent statements of the Defendants set forth herein, which

  fraudulently induced RWI’s subsidiary companies RMI and ROK to enter into sponsorship

  agreements with Williams Engineering where Plaintiffs’ “ROKiT” logo was to be displayed by

  Williams Engineering. At all material times, this fraud was projected into this judicial district

  with regard to the Miami Grand Prix in particular.

         10.     As a direct and proximate result of the fraudulent statements made by the

  Defendants, Plaintiffs have suffered significant financial loss and damage to their goodwill and

  business reputation.

                                             FACTS
                                         Background Facts

         11.     RMI entered into a 3-year Title Sponsorship Agreement with Williams

  Engineering on January 26, 2019 for the 2019 Formula One Season onwards to the present.




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         12.     Under the terms of this Sponsorship Agreement, Williams agreed to prominently

  display Plaintiffs’ “ROKiT” logo on its cars, driver helmets, mechanic helmets, driver overalls,

  mechanic overalls, team kit, merchandise kit, and team environment.

         13.     Plaintiff RWL is licensed to use and sublicense the “ROKiT” logo, and has, in

  fact sublicensed the “ROKiT” logo to RWI for its own use.

         14.     In the public’s view, the “ROKiT” logo represents the Plaintiffs RWL and RWI,

  and not the subsidiary companies RMI and ROK. Thus, the reputational and other harm and

  injury stemming from the fraud alleged herein is directly felt by RWL and RWI, which are

  licensed to use, and do in fact prominently use the “ROKiT” logo.

         15.     In 2019 RMI made payments in the total amount of $17,644,482 to Williams

  Engineering pursuant to the terms of the Title Sponsorship Agreement.

         16.     The Title Sponsorship Agreement was subsequently extended by an amendment

  on July 10, 2019, by 2 years. RMI would pay £13,500,000.00 per annum to Williams

  Engineering. The obligations that Williams Engineering is obligated to perform, in accordance

  with the contract are in clauses 4.1 to 4.8 of the contract and are as follows:

         4.1     Williams shall operate the Team and enter the same in the Championship
         for each year or part thereof for which this Agreement is effective. The Team
         shall participate in each Race of each such Championship, provided that Williams
         reserves the right to withdraw (without penalty hereunder, save that for the
         avoidance of doubt clause 8.2 shall still apply) from any Race where it has
         reasonable concerns related to the safety or conditions of such Race, and its non-
         participation is affected in common with at least one (1) other team entered in the
         Championship (which was a team finishing in the top six (6) places of the
         Championship for Constructors during the preceding Season) or for
         compassionate grounds.

         4.2    Subject to clause 4.1, Williams shall enter two Cars in all Races and
         maintain such levels of engineers, equipment, spare parts, fuel, lubricants, tyres,
         and staff as Williams in its absolute discretion considers necessary to ensure that
         both Cars are presented in the highest condition and qualify for entry to the Race.




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        4.3    During the Term the Team shall conduct itself at all times in a manner
        appropriate to a professional racing team and do nothing to damage the reputation
        or goodwill of the Sponsor or any product of the Sponsor or to bring the same into
        material disrepute.

        4.4     Notwithstanding the specific undertakings contained in this Agreement,
        during the Term Williams shall, so far as is reasonably practicable and
        appropriate, acknowledge the support of the Sponsor, whether singly or in
        common with other Team Partners, and seek generally to enhance the image and
        reputation of the Sponsor in its dealings with the media.

        4.5     Williams shall nominate a representative (who at all times shall, as
        between the Sponsor and Williams be an employee of Williams), for the purposes
        of liaising with the representative of the Sponsor nominated in accordance with
        clause 3.5.

        4.6     During the Term Williams shall, subject to the Rules, provide the
        marketing and promotional services to the Sponsor as set out in Schedule 2.
        Williams undertakes that it has not granted, and will not at any time during the
        Term grant, to any person, any rights or benefits similar to or the same as those
        granted to the Sponsor in this Agreement for exploitation in the categories
        detailed in the Sponsor’s Business (or any or all of them). Williams hereby
        confirms that the Drivers have not entered into, and will procure (by way of an
        applicable provision in the agreement between Williams and the Driver) that the
        Drivers will not at any time during the Term enter into, any sponsorship or
        endorsement agreement or arrangement with any person for exploitation in the
        categories detailed in the Sponsor’s Business (or any or all of them). For the
        avoidance of doubt, nothing in this clause 4.6 will prevent Williams from entering
        into a sponsorship agreement with a provider of a mobile network operator where
        such sponsorship agreement includes the provision of business services to
        Williams in respect of its operation as a Team in the Championship.

        4.7     Williams acknowledges that all intellectual property rights (including,
        without limitation, trade mark rights, copyright and registered design rights) in
        respect of the Sponsor Group’s and Sponsor’s name, logo, trade marks and all
        other proprietary material of the Sponsor Group and Sponsor shall remain both
        during the Term and thereafter the property of the Sponsor or applicable member
        of the Sponsor Group. Williams further acknowledges that this Agreement does
        not operate to vest any right, title or interest to or in such Sponsor trade marks or
        proprietary material.

        4.8     Williams hereby represents and warrants that the use by the Sponsor of:
        (a) the Williams’ trade marks; (b) other proprietary material of Williams detailed
        hereunder; and (c) the marketing and promotional services provided by Williams
        as set out in Schedule 2; in accordance with the terms hereof:
        (i)     in each territory in which a Race is held as at the date hereof;


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         (ii) in the United Kingdom;
         (iii) in any territory within the European Union; and/or
         (iv) to the best of Williams' knowledge, other than as set out in sub-clauses (i), (ii)
         and (iii) above (but, for the avoidance of doubt, in accordance with this
         Agreement), shall not infringe the rights of any third party.

         17.     ROK entered into a 4-year Drinks Sponsorship Agreement with Williams

  Engineering on October 22, 2019, for the 2020 Formula One Season onwards to the present.

         18.     Under the terms of this Sponsorship Agreement, Williams agreed to prominently

  display Plaintiffs’ “ROKiT” logo on its cars, driver helmets, driver caps, driver overalls,

  mechanic overalls, team kit, merchandise kit, and team environment, along with the logos from

  Plaintiffs’ alcoholic drinks, Bogart’s, ABK, and/or Bandero, or ROKiT Smart Cities and/or

  ROKiT Phones.

         19.     The obligations that Williams Engineering is obligated to perform, in accordance

  with the contract are in clauses 4.1 to 4.8 of the contract and are as follows:

         4.1     Williams shall operate the Team and enter the same in the Championship
         for each year or part thereof for which this Agreement is effective. The Team
         shall participate in each Race of each such Championship, provided that Williams
         reserves the right to withdraw (without penalty hereunder, save that for the
         avoidance of doubt clause 8.2 shall still apply) from any Race where it has
         reasonable concerns related to the safety or conditions of such Race, and its non-
         participation is affected in common with at least one (1) other team entered in the
         Championship (which was a team finishing in the top six (6) places of the
         Championship for Constructors during the preceding Season) or for
         compassionate grounds.

         4.2    Subject to clause 4.1, Williams shall enter two Cars in all Races and
         maintain such levels of engineers, equipment, spare parts, fuel, lubricants, tyres,
         and staff as Williams in its absolute discretion considers necessary to ensure that
         both Cars are presented in the highest condition and qualify for entry to the Race.

         4.3    During the Term the Team shall conduct itself at all times in a manner
         appropriate to a professional racing team and do nothing to damage the reputation
         or goodwill of the Sponsor or any product of the Sponsor or to bring the same into
         material disrepute.




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        4.4     Notwithstanding the specific undertakings contained in this Agreement,
        during the Term Williams shall, so far as is reasonably practicable and
        appropriate, acknowledge the support of the Sponsor, whether singly or in
        common with other Team Partners, and seek generally to enhance the image and
        reputation of the Sponsor in its dealings with the media.

        4.5     Williams shall nominate a representative (who at all times shall, as
        between the Sponsor and Williams be an employee of Williams), for the purposes
        of liaising with the representative of the Sponsor nominated in accordance with
        clause 3.5.

        4.6     During the Term Williams shall, subject to the Rules, provide the
        marketing and promotional services to the Sponsor as set out in Schedule 2.
        Williams undertakes that it has not granted, and will not at any time during the
        Term grant, to any person, any rights or benefits similar to or the same as those
        granted to the Sponsor in this Agreement for exploitation in the categories
        detailed in the Sponsor’s Business (or any or all of them). Williams hereby
        confirms that the Race Drivers have not entered into, and will procure (by way of
        an applicable provision in the agreement between Williams and the Race Driver)
        that the Race Drivers will not at any time during the Term enter into, any
        sponsorship or endorsement agreement or arrangement with any person for
        exploitation in the categories detailed in the Sponsor’s Business (or any or all of
        them). For the avoidance of doubt, nothing in this clause 4.6 will prevent
        Williams from entering into a sponsorship agreement with a provider of a mobile
        network operator where such sponsorship agreement includes the provision of
        business services to Williams in respect of its operation as a Team in the
        Championship.

        4.7     Williams acknowledges that all intellectual property rights (including,
        without limitation, trademark rights, copyright and registered design rights) in
        respect of the Sponsor Group and Sponsor’s name, Sponsor’s Logo, trademarks
        and all other proprietary material of the Sponsor Group and Sponsor shall remain
        both during the Term and thereafter the property of the Sponsor or applicable
        member of the Sponsor Group. Williams further acknowledges that this
        Agreement does not operate to vest any right, title or interest to or in such
        Sponsor trademarks or proprietary material save for the rights granted to Williams
        pursuant to this Agreement.

        4.8       Williams hereby represents and warrants that the use by the Sponsor of:
        (a) the Williams’ trademarks; (b) other proprietary material of Williams detailed
        hereunder; and (c) the marketing and promotional services provided by Williams
        as set out in Schedule 2; in accordance with the terms hereof:
        (i)       in each territory in which a Race is held as at the date hereof;
        (ii) in the United Kingdom;
        (iii) in any territory within the European Union; and/or




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         (iv) to the best of Williams' knowledge, other than as set out in sub-clauses (i), (ii)
         and (iii) above (but, for the avoidance of doubt, in accordance with this
         Agreement), shall not infringe the rights of any third party.

         20.     These two agreements are hereafter referred to as the “Sponsorship Agreements.”

         21.     In March of 2020, as a result of COVID-19, Formula One (“F1”) postponed the

  2020 racing season until further notice. Specifically, on or around March 12, 2020, it was

  announced that the Australian Grand Prix, which was scheduled for March 13-15, 2020, would

  not commence, due to COVID-19 regulations, and after that, a number of the races were

  postponed or cancelled, including the Miami Grand Prix, which would have been held in this

  judicial district. The 2020 Formula One Season was compromised due to COVID-19 regulations.

         22.     Furthermore, on or around October 14, 2019, Defendants were informed that the

  color scheme of the F1 car was a breach of clause 3.8 of the Sponsorship Agreements between

  the parties. The color scheme was eventually corrected, but the signage was still not right and not

  the right size. This governing provision of the Sponsorship Agreements stated:

         [ROKiT Marketing Inc.] RMI Title Sponsorship - The Sponsor acknowledges
         that Williams shall at all times have full responsibility for and control of the Team
         and of its participation in any Race or other activity undertaken by the Team and
         that Williams shall exclusively determine all matters in relation thereto. Williams
         acknowledges and agrees that the colour scheme applied to Cars used in Races
         and tests from the 2020 Championship Season onwards shall be mutually agreed
         in good faith. Further, the Sponsor acknowledges and agrees that such colour
         scheme needs to be decided and agreed expeditiously following Williams’ request
         during the preceding Seasons (as applicable) and, as such, the Sponsor agrees that
         its agreement in respect of such colour scheme shall not be unreasonably
         withheld, delayed or conditioned.

         [ROK Marketing, LLC] RML Drinks Sponsorship - The Sponsor
         acknowledges that Williams shall at all times have full responsibility for and
         control of the Team and of its participation in any Race or other activity
         undertaken by the Team and that Williams shall exclusively determine all matters
         in relation thereto. Williams acknowledges and agrees that the color scheme
         applied to Cars used in Races and tests from the 2020 Championship Season
         onwards shall be mutually agreed in good faith by the parties and that the color
         scheme shall not be changed (whether for the 2020 Championship Season from



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             the color scheme applied to Cars used in Races and tests in the 2019
             Championship Season or from the color scheme applied to Cars used in Races and
             tests in subsequent Championship Seasons as agreed by the parties) without the
             prior written approval of the Sponsor.

             23.    Defendants refused to remedy this breach of clause 3.8 of the Sponsorship

  Agreements and never used the correct size of the Sponsor’s logos.

             24.    Then, on or around April 6, 2020 it was announced that Williams Engineering

  was furloughing some of its staff and that senior management and drivers would have a pay cut

  of 20% effective from April 1st 2020 as a result of the Formula One season being compromised

  due to COVID-19 regulations, a clear sign that Williams Engineering was in dire financial

  straits.

             25.    Not coincidentally, on or around April 7, 2020, Defendants wrote to RMI and

  ROK and alleged that they had breached both Sponsorship Agreements due to non-payment of

  the first and second installments, as well as, in relation to RMI, a “bonus” payment of

  $1,000,000.00 USD. Williams intentionally damaged Plaintiffs’ reputation by disclosing the non-

  payment to the media before even informing the Plaintiffs. This was done intentionally to cause

  Plaintiffs as much damages as possible, reputational and otherwise.

             26.    In response, RMI wrote:

             “The first instalment of the Fee in 2020 covers the period from 1st January 2020 to
             14th May 2020 (inclusive). From the date of cancellation of the Australian Grand
             Prix ROKiT has not received the majority of rights under the Agreement and with
             the cancellation of the Monaco Grand Prix, suspension of numerous further races
             and the virtual certainty that additional races will be suspended or cancelled in
             2020 (if the Season even goes ahead) ROKiT will not receive the majority of
             rights under the Agreement in 2020. We find it surprising that we have received
             no correspondence or proposals from Williams in relation to lost rights as a result
             of the impact of Covid 19 on Formula One, just a claim for payment and threats in
             relation thereto. That being said, we are willing to make payment of the first
             instalment of the Fee in 2020 by 15th May 2020 without prejudice to our rights
             and remedies under the Agreement and in law. We look forward to your proposals




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        to compensate us for the loss of rights to date under the Agreement and moving
        forward as a matter of urgency.

        Mr. Kendrick personally proposed a gift of $1m to Williams and finds it
        distasteful that you are now seeking to claim that non-payment constitutes a
        breach of the Agreement. Mr. Kendrick will make the payment of $1,000,000
        personally to Williams by 15th May 2020 provided that you confirm that the
        invoice issued by Williams in relation thereto will be cancelled forthwith and that
        Williams irrevocably waives any claims it may have in relations to the said
        $1,000,000 and undertakes not to make any claim against ROKiT or any of its
        affiliates in relation to the said $1,000,000.

        The second instalment of the Fee in 2020 covers the period from 15th May 2020 to
        27 September 2020 (inclusive) and in all likelihood ROKiT will not receive the
        majority of rights under the Agreement during that period. Accordingly we are
        not willing to make payment of the second instalment until we receive your
        proposals on, and agree, the way forward.

        Williams has breached a number of the provisions of the Agreement and we
        reserve our rights in relations to such breaches. In particular:

        (i) The colour scheme applied to the cars is not as agreed between the parties in
        Barcelona at this Season’s testing, in breach of clause 3.8 of the Agreement. The
        signage is not the agreed size and the Team Kit, garage and all other signage do
        not match the car colours or our brand colours;

        (ii) ROKiT has not received the majority of rights under the Agreement since
        cancellation of the Australian Grand Prix;

        (iii) Williams has breached the confidentiality obligations in clause 15 of the
        Agreement by disclosing non-payment by ROKiT to Formula One World
        Championship Limited (“FOWC”)

        (iv) Williams has damaged the reputation or goodwill of ROKiT and brought the
        same into material disrepute in breach of clause 4.3 of the Agreement by
        disclosing non-payment by ROKiT to FOWC which lead to a sponsorship
        opportunity with FOWC being withdrawn; and

        (v) Williams is in breach of the representation, undertaking and warranty in clause
        5.3(a) of the Agreement.

        We are surprised at your lack of any attempt to communicate or discuss proposals
        on the way forward and look forward to hearing from you in relation thereto as a
        matter of urgency. In our view the Agreement may in any event have been
        terminated due to Frustration. ROKiT hereby reserves all rights and remedies it




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        may have under the Agreement and in law. Nothing in this letter is or is intended
        to constitute a waiver of any rights that ROKiT may have.”

        27.    Furthermore, in response, ROK wrote

        “The first instalment of the Fee in 2020 covers the period from 1st January 2020 to
        14th May 2020 (inclusive). From the date of cancellation of the Australian Grand
        Prix ROK has not received the majority of rights under the Agreement and with
        the cancellation of the Monaco Grand Prix, suspension of numerous further races
        and the virtual certainty that additional races will be suspended or cancelled in
        2020 (if the Season even goes ahead) ROK will not receive the majority of rights
        under the Agreement in 2020. We find it surprising that we have received no
        correspondence or proposals from Williams in relation to lost rights as a result of
        the impact of Covid 19 on Formula One, just a claim for payment and threats in
        relation thereto. That being said, we are willing to make payment of the first
        instalment of the Fee in 2020 by 15th May 2020 without prejudice to our rights
        and remedies under the Agreement and in law. We look forward to your proposals
        to compensate us for the loss of rights to date under the Agreement and moving
        forward as a matter of urgency.

        The second instalment of the Fee in 2020 covers the period from 15th May 2020 to
        27 September 2020 (inclusive) and in all likelihood ROK will not receive the
        majority of rights under the Agreement during that period. Accordingly we are
        not willing to make payment of the second instalment until we receive your
        proposals on, and agree, the way forward.

        Williams has breached a number of the provisions of the Agreement and we
        reserve our rights in relations to such breaches. In particular:

        (i) The colour scheme applied to the cars is not as agreed between the parties in
        Barcelona at this Season’s testing, in breach of clause 3.8 of the Agreement. The
        signage is not the agreed size and the Team Kit, garage and all other signage do
        not match the car colours or our brand colours;

        (ii) ROK has not received the majority of rights under the Agreement since
        cancellation of the Australian Grand Prix;

        (iii) Williams has breached the confidentiality obligations in clause 15 of the
        Agreement by disclosing non-payment by ROK to Formula One World
        Championship Limited (“FOWC”)

        (iv) Williams has damaged the reputation or goodwill of ROK and brought the
        same into material disrepute in breach of clause 4.3 of the Agreement by
        disclosing non-payment by ROK to FOWC which lead to a sponsorship
        opportunity with FOWC being withdrawn; and




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          (v) Williams is in breach of the representation, undertaking and warranty in clause
          5.3(a) of the Agreement.

          We are surprised at your lack of any attempt to communicate or discuss proposals
          on the way forward and look forward to hearing from you in relation thereto as a
          matter of urgency. In our view the Agreement may in any event have been
          terminated due to Frustration. ROK hereby reserves all rights and remedies it may
          have under the Agreement and in law. Nothing in this letter is or is intended to
          constitute a waiver of any rights that ROK may have.”

          28.     Ultimately, the parties were unable to resolve the issue informally, and an

   arbitration was held in the London Court of International Arbitration. LCIA Arbitration Case No.

   204960. The arbitrator ultimately sided with Williams Engineering, but crucially, the arbitrator

   was not aware of the fraudulent concealment of statements of material facts by Defendants that

   were not discovered until after the arbitration had concluded.

                                Facts Pertaining to Defendants’ Fraud

          29.     After the arbitration had concluded and Williams Engineering had received a

   favorable decision, Plaintiffs learned that the car was never capable of performing to the

   standards that Defendants had guaranteed to the Plaintiffs, and that Defendants were aware of

   and concealed this fact.

          30.     In a meeting with Defendants, prior to the execution of the Sponsorship

   Agreements, on or about January 18, 2019 at Williams Engineering headquarters in Grove,

   Defendants Ms. Williams, Mr. O’Driscoll, and Mr. Lafferty made fraudulent statements and

   guarantees to Mr. Jonathan Kendrick, and in the presence of Mr. Bruce Renny, and Mr. Chris

   Welsh, that claimed that the F1 car which would be subject to the Sponsorship Agreements, had

   industry leading performance capabilities including a Mercedes-Benz engine and would have

   excellent chances to be competitive, would place in the upper side of the leaderboard, and would

   not be slower than the 2018 Williams F1 car.




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          31.     Specifically, Defendants informed Plaintiffs’ subsidiaries ROK and RMI that they

   had hired Paddy Lowe (“Mr. Lowe”), the ex-technical director of Mercedes Formula One - a

   legend in the industry – and that Mr. Lowe would be able to develop the F1 car to competitive

   standards which would be subject to the Sponsorship Agreements.

          32.     However, Defendants intentionally and fraudulently concealed the fact that

   Williams Engineering simply did not have enough money to develop the F1 car which would be

   subject to the Sponsorship Agreements to an industry leading standard, and therefore Defendants

   knew that the F1 car which would be subject to the Sponsorship Agreements had no chance to be

   competitive, or at the least place in the upper side of the leaderboard, and actively concealed this

   fact from the Plaintiffs’ subsidiaries ROK and RMI.

          33.     These statements and guarantees by Defendants fraudulently induced RMI and

   ROK to enter into the Sponsorship Agreements with Williams Engineering, as Plaintiffs would

   only receive the main benefit of their Sponsorship Agreements if the F1 car bearing their

   “ROKiT” logo was competitive, or at the least place in the upper side of the leaderboard.

          34.     Thus, had Plaintiffs known that the F1 car that would be the subject of the

   Sponsorship Agreements with Williams Engineering was grossly substandard and had no chance

   of being competitive, Plaintiff RWI’s subsidiaries RMI and ROK would never have entered into

   any Sponsorship Agreements with Williams Engineering to display Plaintiffs’ “ROKiT” logo.

          35.     The F1 car that would be subject to the Sponsorship Agreement was the slowest

   car in F1 since 2019 and by such a wide margin as to be completely uncompetitive and

   consistently finished in the bottom half of the leaderboard and almost always in the last place.

          36.     Defendants knew this, and this is why they concealed this material fact, and

   instead made fraudulent representations and guarantees that the F1 car which would be subject to




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   the Sponsorship Agreements had industry leading performance capabilities and would be

   competitive and at least place in the upper side of the leaderboard.

          37.     Accordingly, as a direct and proximate result of the fraudulent statements made

   by Defendants set forth herein, Plaintiffs suffered a direct injury because they were fraudulently

   induced by the Defendants to display their “ROKiT” logo on Williams cars that were

   substandard and non-competitive, which severely damaged their goodwill and business

   reputation.

          38.     As a direct and proximate result of Plaintiff RWI’s subsidiaries RMI and ROK

   being fraudulently induced into entering into the Sponsorship Agreements with Williams

   Engineering, and Williams Engineering’s subsequent fraudulent claims for breach of contract

   that were widely publicized to the media, Plaintiffs suffered severe damage and harm to their

   goodwill and business reputation because Defendants’ statements to the media created the false

   impression that “ROKiT,” had breached the Sponsorship Agreements, not RMI and ROK. Thus,

   the reputational harm and damage was directly done to Plaintiffs, who are licensed to use the

   “ROKiT” logo, and do, in fact, prominently use the “ROKiT” logo.

                                       CAUSES OF ACTION
                                          Count 1 – Fraud
                                   Defendant Williams Engineering

          39.     Defendant Williams Engineering made a fraudulent statement of material fact that

   the F1 car which would be subject to the Sponsorship Agreements between the parties had

   industry leading performance capabilities and would be competitive or at least place in the upper

   side of the leaderboard.

          40.     Defendant Williams Engineering made an omission of a material fact when it

   fraudulently concealed the fact that the F1 car that would be the subject of the Sponsorship




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   Agreements between the parties was never capable of performing to the standards that Defendant

   Williams Engineering had guaranteed to the Plaintiffs.

          41.     Defendant Williams Engineering was aware of the false nature of the statement

   that the F1 car which would be subject to the Sponsorship Agreements between the parties had

   industry leading performance capabilities and would be competitive or at least place in the upper

   side of the leaderboard and was also aware that that the F1 car that would be the subject of the

   Sponsorship Agreements between the parties was never capable of performing to the standards

   that Defendant Williams Engineering had guaranteed to the Plaintiffs.

          42.     Defendant Williams Engineering made this false statement and false omission

   with the intent that the Plaintiffs would rely on them, as Williams Engineering desperately

   needed a cash infusion in order to sustain operations.

          43.     Plaintiffs relied on Defendant Williams Engineering’s fraudulent statements and

   false omissions, as it is indisputable that a car which is not competitive is clearly one that no

   sponsor would want to attach their name, brand, and reputation to, and Plaintiffs are no different.

   Thus, had Plaintiffs known that the F1 car that would be the subject of the Sponsorship

   Agreements with Williams Engineering had no chance of being competitive, RWI’s subsidiaries

   RMI and ROK would never have entered into any Sponsorship Agreements with Williams

   Engineering to display Plaintiffs’ “ROKiT” logo.

          44.     As a result of the fraudulent and false statement and omission by Defendant

   Williams Engineering, Plaintiff RWI’s subsidiaries RMI and ROK entered into the Sponsorship

   Agreements with Williams Engineering and as a direct and proximate cause, Plaintiffs suffered

   severe damage both financially, as well as to their goodwill and business reputation.

                                        CAUSES OF ACTION
                                          Count 2 – Fraud


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                                        Defendant Ms. Williams

          45.     Defendant Ms. Williams made a fraudulent statement of a material fact that the F1

   car which would be subject to the Sponsorship Agreements between the parties had industry

   leading performance capabilities and would be competitive or at least place in the upper side of

   the leaderboard.

          46.     Defendant Ms. Williams made an omission of a material fact when she

   fraudulently concealed the fact that the F1 car that would be the subject of the Sponsorship

   Agreements between the parties was never capable of performing to the standards that Defendant

   Ms. Williams had guaranteed to the Plaintiffs.

          47.     Defendant Ms. Williams was aware of the false nature of the statement that the

   F1 car which would be subject to the Sponsorship Agreements between the parties had industry

   leading performance capabilities and would be competitive or at least place in the upper side of

   the leaderboard and was also aware that that the F1 car that would be the subject of the

   Sponsorship Agreements between the parties was never capable of performing to the standards

   that Defendant Ms. Williams had guaranteed to the Plaintiffs.

          48.     Defendant Ms. Williams made this false statement and false omission with the

   intent that the Plaintiffs would rely on them, as Williams Engineering desperately needed a cash

   infusion in order to sustain operations.

          49.     Plaintiffs relied on Defendant Ms. Williams’ fraudulent statements and false

   omissions, as it is indisputable that a car which is not competitive is clearly one that no sponsor

   would want to attach their name, brand, and reputation to, and Plaintiffs are no different. Thus,

   had Plaintiffs known that the F1 car that would be the subject of the Sponsorship Agreements

   with Williams Engineering had no chance of being competitive, Plaintiff RWI’S subsidiaries




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   RMI and ROK would never have entered into any Sponsorship Agreements with Williams

   Engineering to display Plaintiffs’ “ROKiT” logo.

          50.     As a result of the fraudulent and false statement and omission by Defendant Ms.

   Williams, Plaintiff RWI’s subsidiaries RMI and ROK entered into the Sponsorship Agreements

   with Williams Engineering and as a direct and proximate cause, Plaintiffs suffered severe

   damage both financially, as well as to their goodwill and business reputation.

                                       CAUSES OF ACTION
                                          Count 3 – Fraud
                                      Defendant Mr. O’Driscoll

          51.     Defendant Mr. O’Driscoll made a fraudulent statement of material fact that the F1

   car which would be subject to the Sponsorship Agreements between the parties had industry

   leading performance capabilities and would be competitive or at least place in the upper side of

   the leaderboard.

          52.     Defendant Mr. O’Driscoll made an omission of a material fact when he

   fraudulently concealed the fact that the F1 car that would be the subject of the Sponsorship

   Agreements between the parties was never capable of performing to the standards that Defendant

   Mr. O’Driscoll had guaranteed to the Plaintiffs.

          53.     Defendant Mr. O’Driscoll was aware of the false nature of the statement that the

   F1 car which would be subject to the Sponsorship Agreements between the parties had industry

   leading performance capabilities and would be competitive or at least place in the upper side of

   the leaderboard and was also aware that that the F1 car that would be the subject of the

   Sponsorship Agreements between the parties was never capable of performing to the standards

   that Defendant Mr. O’Driscoll had guaranteed to the Plaintiffs.

          54.     Defendant Mr. O’Driscoll made this false statement and false omission with the




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   intent that the Plaintiffs would rely on them, as Williams Engineering desperately needed a cash

   infusion in order to sustain operations.

          55.     Plaintiffs relied on Defendant Mr O’Driscoll’s fraudulent statements and false

   omissions, as it is indisputable that a car which is not competitive is clearly one that no sponsor

   would want to attach their name, brand, and reputation to, and Plaintiffs are no different. Thus,

   had Plaintiffs known that the F1 car that would be the subject of the Sponsorship Agreements

   with Williams Engineering had no chance of being competitive, Plaintiff RWI’s subsidiaries

   RMI and ROK would never have entered into any Sponsorship Agreements with Williams

   Engineering to display Plaintiffs’ “ROKiT” logo.

          56.     As a result of the fraudulent and false statement and omission by Defendant Mr

   O’Driscoll, Plaintiff RWI’s subsidiaries RMI and ROK entered into the Sponsorship Agreements

   with Williams Engineering and as a direct and proximate cause, Plaintiffs suffered severe

   damage both financially, as well as to their goodwill and business reputation.

                                        CAUSES OF ACTION
                                          Count 4 – Fraud
                                        Defendant Mr. Lafferty

          57.     Defendant Mr. Lafferty made a fraudulent statement of material fact that the F1

   car which would be subject to the Sponsorship Agreements between the parties had industry

   leading performance capabilities and would be competitive or at least place in the upper side of

   the leaderboard.

          58.     Defendant Mr. Lafferty made an omission of a material fact when he fraudulently

   concealed the fact that the F1 car that would be the subject of the Sponsorship Agreements

   between the parties was never capable of performing to the standards that Defendant Mr.

   Lafferty had guaranteed to the Plaintiffs.




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          59.     Defendant Mr. Lafferty was aware of the false nature of the statement that the F1

   car which would be subject to the Sponsorship Agreements between the parties had industry

   leading performance capabilities and would be competitive or at least place in the upper side of

   the leaderboard and was also aware that the F1 car that would be the subject of the Sponsorship

   Agreements between the parties was never capable of performing to the standards that Defendant

   Mr. Lafferty had guaranteed to the Plaintiffs.

          60.     Defendant Mr. Lafferty made this false statement and false omission with the

   intent that the Plaintiffs would rely on them, as Williams Engineering desperately needed a cash

   infusion in order to sustain operations.

          61.     Plaintiffs relied on Defendant Mr. Lafferty’s fraudulent statements and false

   omissions, as it is indisputable that a car which is not competitive is clearly one that no sponsor

   would want to attach their name, brand, and reputation to, and Plaintiffs are no different. Thus,

   had Plaintiffs known that the F1 car that would be the subject of the Sponsorship Agreements

   with Williams Engineering had no chance of being competitive, Plaintiff RWI’s subsidiaries

   RMI and ROK would never have entered into any Sponsorship Agreements with Williams

   Engineering to display Plaintiffs’ “ROKiT” logo.

          62.     As a result of the fraudulent and false statement and omission by Defendant Mr.

   Lafferty, Plaintiff RWI’s subsidiaries RMI and ROK entered into the Sponsorship Agreements

   with Williams Engineering and as a direct and proximate cause, Plaintiffs suffered severe

   damage both financially, as well as to their goodwill and business reputation.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

          a.      Awarding Plaintiffs compensatory including actual, consequential, incidental for




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   malicious tortious concerted conduct, jointly and severally, in an amount in excess of

   $149,528,550 dollars or in an amount to be determined at by a jury at trial.

          b.      Awarding Plaintiffs punitive damages in an amount to be determined by jury.

          c.      Granting such other relief as the Court deems appropriate and necessary.

          PLAINTIFF DEMANDS TRIAL BY JURY ON ALL CLAIMS SO TRIABLE.

   Dated: April 5, 2023                                         Respectfully Submitted,


                                                                   /s/ Larry Klayman
                                                                Larry Klayman, Esq.
                                                                Klayman Law Group, P.A.
                                                                Florida Bar. No. 246220
                                                                7050 W. Palmetto Park Rd
                                                                Boca Raton FL 33433
                                                                Telephone: 561-558-5336
                                                                Email: leklayman@gmail.com

                                                                Counsel for Plaintiffs




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